       Case 1:20-cv-10832-AT-SN Document 632 Filed 09/14/22 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



SECURITIES AND EXCHANGE COMMISSION,

                              Plaintiff,

                      vs.                                           Case No. 1:20-cv-10832
RIPPLE LABS, INC., BRADLEY GARLINGHOUSE,
and CHRISTIAN A. LARSEN,

                              Defendants.




        NOTICE OF MOTION FOR LEAVE TO FILE AMICUS CURIAE BRIEF

       PLEASE TAKE NOTICE that upon the accompanying Declaration of Lilya Tessler and

the proposed brief amicus curiae attached thereto, and upon the accompanying Memorandum of

Law, The Chamber of Digital Commerce shall move this Court, before the Honorable Analisa

Torres, United States District Judge, at the United States Courthouse, 500 Pearl Street, New York,

New York, at a date and time to be determined by the Court, for leave to file the attached amicus

curiae brief and granting such and further relief as the Court deems just and proper.
       Case 1:20-cv-10832-AT-SN Document 632 Filed 09/14/22 Page 2 of 2




Dated: Dallas, Texas
       September 14, 2022

                                          Respectfully submitted,


                                          By: /s/ Lilya Tessler
                                          Lilya Tessler
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                                          Digital Commerce




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